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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 AMERICAN SECURITIES
 ASSOCIATION,
                                              Case No. 8:22-cv-330-VMC-CPT
           Plaintiff,

 v.

 U.S. DEPARTMENT OF LABOR,
 MARTY WALSHA, in his official
 Capacity as the Secretary of Labor,

         Defendant.
 _______________________________/

                              MEDIATION REPORT

        In accordance with the parties’ Notice of Mediation [DE 37], an in-person

Mediation was held on Monday, August 1, 2022, at 9:00 a.m., at the Tampa office

of Zinober Diana & Monteverde, P.A. where the parties conducted mediation

settlement discussions. Plaintiff, AMERICAN SECURITIES ASSOCIATION,

attended with its corporate representative and lead trial counsel. By Court Order [DE

44], Defendant, U.S. DEPARTMENT OF LABOR, attended by and through lead

trial counsel.

        All parties participated in good faith. The parties reached an IMPASSE at this

time.
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      Done August 1, 2022, in Tampa, Florida.


                                       Respectfully submitted,

                                       /s/ Gregory P. Holder
                                       Gregory P. Holder, Esq., Mediator
                                       Florida Bar No. 339326
                                       607 W. Horatio Street
                                       Tampa, Florida 33606
                                       Telephone: (813) 773-5106
                                       Facsimile: (727) 498-8902
                                       Email: greg@zinoberdiana.com

                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that August 1, 2022, I electronically filed the

foregoing document with the United States District Court Electronic Case Filing

system, which will electronically send copies to counsel of record.

                                       /s/ Gregory P. Holder
                                       Gregory P. Holder, Esq., Mediator
